
679 S.E.2d 135 (2009)
STATE of North Carolina
v.
James McQueen BUIE.
No. 66P09.
Supreme Court of North Carolina.
June 17, 2009.
James R. Glover, Chapel Hill, for Buie.
*136 Charles E. Reece, Assistant Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 671 S.E.2d 351.

ORDER
Upon consideration of the petition filed on the 10th of February 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
Denied by order of the Court in conference, this the 17th of June 2009.
